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UNITED STATES DISTRICT COURT |
EASTERN DISTRICT OF MICHIGAN oe
SOUTHERN DIVISION

UNITED STATES OF AMERICA, No. 03-80406

Plaintiff, HON. GERALD E. ROSEN
-VS- _ OFFENSE: 18 U.S.C. § 4,

MISPRISION OF FELONY
D-9 JIHAD HAMMOUD, STATUTORY MAXIMUM PENALTIES:
a.k.a. Jay Hammoud, 3 Years’ Imprisonment and/or
. $250,000 Fine .
Defendant. . Je

 

   

MAR 27 2009 |

RULE 11 PLEA AGREEMENT CLERK’S OFFICE
-U.S. DISTRICT COURT
EASTERN MICHIGAN
Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant Jihad

Hammoud, aka Jay Hammoud, and the government agree as follows:

1. GUILTY PLEA(S)
A. Count(s) of Conviction

Defendant will waive grand jury indictment and enter a plea of guilty to Count One»
of the First Superseding Information, which charges Misprision of a Felony, in violation
of 18 U.S.C. 4, and for which the penalty is 3 years’ imprisonment and/or a $250,000 fine.

The government will dismiss the First Superseding Indictment as to Defendant Jihad

Hammoud, D-9.

 

 
   

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B. Elements of Offense(s)

The elements of Count One are:

1. The defendant had knowledge of the commission of a felony offense;
2. The offense was cognizable by a court of the United States; and
3. Defendant concealed and did not as soon as possible make his

knowledge of the offense known to some judge or other US.

government authority.

Cc. Factual Basis for Guilty Plea(s)

The foltowing facts are a sufficient and accurate basis for defendant’s guilty plea(s):

Between January 1998 and January 2001, in the Eastern District of Michigan,
Defendant Jihad Hammoud was knowledgeable about the commission of a felony offense
committed by a group of individuals, including Imad Hammoud, Fadi Hammoud, and Majid
Hammoud. Specifically, defendant was aware that these individuals had conspired and
agreed with each other to possess contraband cigarettes, by obtaining low taxed and
untaxed contraband cigarettes from other states and transporting them to the Detroit,
Michigan area. Possession of, and conspiracy to possess, contraband cigarettes is a
felony offense under Title 18, United States Code, Section 371 and 2342(a). Defendant
concealed and did not as soon as possible make his knowledge of the offense known to
any judge or U.S. government official.

2. SENTENCING GUIDELINES

A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. Agreed Guideline Range

There are no sentencing guideline disputes. Except as provided below, defendant's
guideline range is 0-6 months, as set forth on the attached worksheets. If the Court finds:

a) that defendant’s criminal history category is higher than reflected on the

attached worksheets, or

 

 
  
 

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b) that the offense level should be higher because, after pleading guilty,

defendant made any false statement to or withheld information from his

probation officer; otherwise demonstrated a lack of acceptance of

responsibility for his offense(s); or obstructed justice or committed any crime,
and if any such finding results in a guideline range higher than 0-6 months, the higher
guideline range becomes the agreed range. However, if the Court finds that defendant is
a career offender, an armed career criminal, or a repeat and dangerous sex offender as
defined under the sentencing guidelines or other federal law, and that finding is not already
reflected in the attached worksheets, this paragraph does not authorize a corresponding
increase in the agreed range.

Neither party may take a position concerning the applicable guidelines that is
different than any position of that party as reflected in the attached worksheets, except as
necessary to the Court’s determination regarding subsections a) and b), above.

3. SENTENCE

The Court will impose a sentence pursuant to 18 U.S.C. §3553, and in doing so
must consider the sentencing guideline range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(¢){1)(C) the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range as
determined by Paragraph 2B.

B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment. There .
is no agreement on supervised release. In other words, the Court may impose any term

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of supervised release up to the statutory maximum term, which in this case is 1 year. The
agreement concerning imprisonment described above in Paragraph 3A does not apply to
any term of imprisonment that results from any later revocation of supervised release.

Cc. Special Assessment

Defendant will pay a special assessment of $100 and must provide the government
with a receipt for the payment before sentence is imposed.

D. Fine

Any fine imposed by the Court shall not exceed the bottom of the applicable fine
range under the sentencing guidelines.

E. Restitution

The parties agree that the Court shall order defendant to pay restitution to the State

of Michigan in the amount of $100,000.

 

4. WAIVER OF STATUTE OF LIMITATIONS.

Defendant has been advised that the statute of limitations for Misprision of a Felony
in violation of 18 U.S.C. § 4 is five years after the commission of the offense. 18 U.S.C.
§ 3282. Accordingly, defendant could not be prosecuted for count one of the First
Superseding Information without his consent and express waiver of the statute of
limitations, which expired on or about January, 2006. Defendant hereby waives the statute
of limitations otherwise applicable to count one and consents to be prosecuted on that

charge without regard to the statute of limitations and to plead guilty to the charge. ~

 

 
  

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5. OTHER CHARGES

If the Court accepts this agreement, the government will not charge defendant with
any other offenses of which it is currently aware.

6. EACH PArRTy’s RIGHT TO WITHDRAW FROM THIS AGREEMENT

The government may withdraw from this agreement if the Court finds the correct
guideline range to be different than is determined by Paragraph 2B.

Defendant may withdraw from this agreement, and may withdraw his guilty plea, if
the Court decides to impose a sentence higher than the maximum allowed by Part 3. This
is the only reason for which defendant may withdraw from this agreement. The Court shail
advise defendant that if he does not withdraw his guilty plea under this circumstance, the
Court may impose a sentence greater than the maximum allowed by Part 3.

7. RIGHT TO APPEAL |

If the sentence imposed does not exceed the maximum allowed by Part 3 of this
agreement, defendant waives any right he has to appeal his conviction or sentence. Ifthe
sentence imposed is within the guideline range determined by Paragraph 2B the
government agrees not to appeal the sentence, but retains its right to appeal any sentence
below that range.

8. CONSEQUENCES OF WITHDRAWAL OF GUILTY PLEA(S} OR VACATION OF Conviction(s)

If defendant is allowed to withdraw his guilty plea(s) or if any conviction entered
pursuant to this agreement is vacated, the Court shall, on the government's request,
reinstate any charges that were dismissed as part of this agreement. If additional charges
are filed against defendant within six months after the date the order vacating defendant's
conviction or allowing him to withdraw his guilty plea(s) becomes final, which charges relate |

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directly or indirectly to the conduct underlying the guilty plea(s) or to any conduct reflected
in the attached worksheets, defendant waives his right to challenge the additional charges
on the ground that they were not filed in a timely manner, including any claim that they
were filed after the limitations period expired.
9, PARTIES TO PLEA AGREEMENT

Unless otherwise indicated, this agreement does not bind any government agency
except the United States Attorney's Office for the Eastern District of Michigan.
10. SCOPE OF PLEA AGREEMENT | |

This agreement, which includes ail documents that.it explicitly incorporates, is the
complete agreement between the parties. It supersedes all other promises,
representations, understandings, and agreements between the parties concerning the
subject matter of this plea agreement that are made at any time before the guilty plea is
entered in court. Thus, no oral or written promises made by the government to defendant
or to the attorney for defendant at any time before defendant pleads guilty are binding
except to the extent they have been explicitly incorporated into this agreement.

This agreement does not prevent any civil or administrative actions against

defendant, or any forfeiture claim against any property, by the United States or any other

party.

 
  
  
 

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11. ACCEPTANCE OF AGREEMENT BY DEFENDANT

This plea offer expires unless it has been received, fully signed, in the Office of the
United States Attorney by 5:00 P.M. on March 27, 2009. The government reserves the
right to modify or revoke this offer at any time before defendant pleads guilty.

TERRENCE BERG
United States Altorney

a TUKEL |

ssigtant United States Attorney .

ie}, National Security Unit ;

sect L. a KENNETH R. CHADWELL :

Assistant United States om . Assistant United States Attorney
Deptty Chief, National Security Unit .

By signing below, defendant acknowledges that he has read (or been read) this
entire document, understands it, and agrees to its terms. He also acknowledges that
he is satisfied with his attorney's advice and representation. Defendant agrees that he

has had a full and complete opportunity to confer with his lawyer, and has had all of his
questions answered by his lawyer.

 
 

 

 

WALTER J. PiSACZATOWSKI JIHAD HAMMOUD AIKIA JAY HAMMOUD
Attorney for Defendant Defendant

Date: 3) 05

 

 
  
  

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WORKSHEET A_ (Offense Levels)

fendant: Jihad Hammoud . Count(s): 1
ocket No.: _03-80406 Statute(s) 18 USC 4

Complete one Worksheet A for each count of conviction (taking into account relevant conduct and treating each stipulated offense as a separate
count of conviction) before applying the multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts of con-
viction, if the counts of conviction are all “closely related” to each other within the meaning of U.S.$.G, § 3D1.2(d), complete only a single
Worksheet A. :

— 2T4.1(F) More than 80,000

BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

Guideline Section Description Level

 

 

2E4.1(a)(2) . Contraband cigarettes

 

 

 

2X4. 1(a) Misprision

 

 

 

 

 

 

ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

 

Guideline Section . Description Levels

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items ] and 2. If this Worksheet A does not cover every count
of conviction (taking into account relevant conduct and treating each stipulated offense as a separate count of
conviction), complete one or more additional Worksheets A and a single Worksheet B.

eR oe ok oe ob ok eo eo ook ok

if this is the only Worksheet A, check this box and skip Worksheet B.

 

 

If the defendant has no criminal history, check this box and skip Worksheet C.

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WORKSHEET C_ (Criminal History)

te of defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated
offenses): _May 1996

1, PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months (U.S.S.G. §§ 4A1.1(a)): - 3POINTS

Enter 3 points for each prior adult sentence of imprisonment exceeding one year and one month that either (1) was imposed within 15 years
of the defendant's commencement of the instant offenses (taking into account relevant conduct and stipulated offenses) or (2) resulted in
the defendant’s confinement during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1), (€)(1)-)

Prior Sentence of Imprisonment of at Least 60 Days (U.S.S.G. §§ 4A1.1(b)): 2 POINTS

Enter 2 points for each prior sentence of imprisonment of at least 60 days not counted under U.S.8.G. § 4A1.1{a) that either (1) resulted
from an offense committed afler the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant
offense (taking into account relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b), 4A1.2(e}(2)) or (2) resulted from an
offense committed before the defendant turned 18 and resulted in the defendant’s confinement during any part of the 5-year period
preceding the defendant’s commencement of the instant offense (see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences (U.S.S.G. §§ 4A1.1(c)): 1 POINT

Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or (b) that either (1) resulted frem an offense committed after
the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G, §§ 4A1.1(c), 4A] .2(e)(2)) or (2) resulted from an offense committed before the
defendant tumed 18 and was imposed within 5 years of the defendant’s commencement of the instant offense (taking into account relevant
conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(d\(2)(B))}. NOTE: No more than 4 points may be added under this

item. . :
Date of , . Release
Imposition Status* Offense Sentence Date** Points

 

 

 

 

 

 

 

 

 

 

 

 

 

 

*  |f the defendant committed the offense before turning 18, indicate whether he or she was sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only three situations: (1) when a sentence covered under U.S.8.G. § 4A1.1(a) was imposed more than 15 years
before the defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in his or her
confinement during any part of that 15-year period: (2) when a sentence counted under U.S.S.G. § 4A1.1(b) was imposed for an offense com-mitted
before the defendant turned 18 but resulted in his or her confinement during any part of the 5-year period preceding his or her commence-ment of the
instant offense (taking into account relevant conduct and stipulated offenses); and (3) when 2 criminal history points are added pur-suant to U.S.8.G,
§ 4A1.1(e) because the defendant committed the instant offense (taking into account relevant conduct and stipulated offenses) shortly after or during
imprisonment resulting from a sentence counted under U.S.S.G. § 4A1.1{a) or (b) or while he or she was on escape status for such a sentence.

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(WORKSHEET C, p. 2)

COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE (U.S.S.G. §
4Al1.1(d))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
while under any criminal justice sentence having a custodial or supervisory component, including probation, parole, supervised release,
imprisonment, work release, and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n)}.) List the type of control and identify the
sentence from which it resulted.

 

 

 

 

 

COMMISSION OF INSTANT OFFENSE SHORTLY AFTER OR DURING IMPRISONMENT
(U.S.S.G. § 4A1.1(e))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
either less than 2 years after release from imprisonment on a sentence counted under U.S.S.G. §§ 4A1.1(a) or 4A1.1(b) or while in

imprisonment or escape status on such a sentence. However enter, only 1 point for this item if 2 points were added under Item 2, (See
U.S.8.G. §§ 4A1.1(e), 4A1.2(n).) List ihe date of release and identify the sentence from which it resulted.

 

 

 

 

 

PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(f)

Enter 1| point for each prior sentence resulting from a conviction for a crime of violence that did not receive any points under U.S.5.G. §
4A]1.1{a), (b), or (c) because such sentence was considered related to another sentence resulting from a conviction for a crime of violence.
But enter no points where the sentences are considered related because the offenses occurred on the same occasion. (See U.S.S.G. §§
4A1.1(f), 4A1.2(p).} Identify the crimes of violence and briefly explain why the cases are considered related. NOTE: No more than 3
points may be added under this item.

 

 

 

 

 

 

 

TOTAL CRIMINAL HISTORY POINTS

Enter the sum of the criminal history points entered in Items 1-4.

 

 

 

CRIMINAL HISTORY CATEGORY

Total Criminal History Points Criminal History Category

 

o-1 I
2-3 II
4-6 Il
7-9 IV
10-12 V
2 13 VI

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WORKSHEET D_ (Guideline Range)
(COMBINED) ADJUSTED OFFENSE LEVEL

Enter the adjusted offense level entered in Item 3 of Worksheet A or the combined adjusted offense level
entered in Item 8 of Worksheet B.

2. ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G § 3E1.1)

3. TOTAL OFFENSE LEVEL

Enter the difference between Items 1 and 2.

4. CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminal history. Otherwise, enter the criminal history category
entered in Item 6 of Worksheet C.

5. CAREER OFFENDER / CRIMINAL LIVELIHOOD / ARMED CAREER CRIMINAL
(U.5.S.G. ch. 4, pt. B)

a. Total Offense Level: If the career offender provision (U.S.8.G. § 4B1.!), the criminal livelihood provision
(U.S.8.G. § 4B1.3), or the armed carcer criminal provision (U.S.S.G. § 481.4) results in a total offense
level higher than the total offense level entered in Item 3, enter the higher offense level total.

b. Criminal History Category: If the career offender provision (U.S.S.G. § 4B1.1) or the armed career criminal
provision (U.8.8.G. § 4B 1.4) results in a criminal history category higher than the criminal history category
entered in Item 4, enter the higher criminal history category.

6. | GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A)

Enter the guideline range in the Sentencing Table (see U.8.5.G, ch. 5, pt. A) produced by the total!
offense level entered in Item 3 or 5.a and the criminal history category entered in Item 4 or 5.b.

7, STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE

If the maximum sentence authorized by statute is below, or a minimum sentence required by statute
is above, the guideline range entered in Item 6, enter either the guideline range as restricted by
statute or the sentence required by statute. (See U.S.8.G. § 5G1.1,) Ifthe sentence on any count of
conviction is required by statute to be consecutive to the sentence on any other count of conviction,
explain why.

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a.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

! 2.
xX
3.
b.
1.
: X 2
CG.

1.

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WORKSHEET E_ (Authorized Guideline Sentences)

PROBATION (U.S.S.G. ch. 5, pt. B)

Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

Probation is not authorized by the guidelines (minimum of guideline range > 6 months or statute of
conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split Sentence).

Probation is authorized by the guidelines (minimum of guideline range = zero months).

Probation is authorized by the guidelines, provided the court imposes a condition or combination of
conditions requiring intermittent confinement, community confinement, or home detention satisfying
the minimum of the guideline range (minimum of guideline range > 0 months but < 6 months).

Length of Term of Probation (U.S.S.G. § 5B1.2)

At least 1 year but not more than 5 years (total offense level > 6).

. No more than 3 years (total offense level < 6).

Conditions of Probation (U.S.8.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of probation.

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(0)2), (d)(2))

 

 

 

 

 

 

a.

A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

A split sentence is authorized (minimum of guideline range > 0 months but < 10 months). The court
may impose a sentence of imprisonment that includes a term of supervised release with a condition
that substitutes community confinement or home detention for imprisonment, provided that at least
one-half of the minimum of the guideline range is satisfied by imprisonment (if the minimum of the
guideline range is 8, 9, or 10 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, or 6 months). The authorized length of the term of
supervised release is set forth below in Item 4.b

3. IMPRISONMENT (U.S.S.G. ch. 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable guideline range
(entered in Item 6 of Worksheet D). (See U.S.8.G. § 5C1.1.)

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a.

 

 

 

 

 

 

 

 

 

 

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(WORKSHEET E, p. 2)

SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

Imposition of a Term of Supervised Release (U.8.8.G. § 5D1.1)
The court must impose a term of supervised release if it imposes a term of imprisonment of more

than one year, or if it is required to do so by statute. The court may impose a term of supervised
release if it imposes a term of imprisonment of one year or less.

Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

At least 3 years but not more than 5 years, where the count of conviction is a Class A or a Class B
felony, i.¢., an offense carrying a maximum term of imprisonment 2 25 years.

At least 2 years but not more than 3 years, where the count of conviction is a Class C or a Class D
felony, i.c., an offense carrying a maximum term of imprisonment > 5 years but < 25 years.

1 year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.¢., an offense
carrying a maximum term of imprisonment > 6 months but <5 years.

The statute of conviction requires a minimum term of supervised release of months.

Conditions of Supervised Release (U.S.8.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other conditions of
supervised release.

5. RESTITUTION (U.S.S.G. § SE1.1)

 

 

 

 

 

 

 

 

 

 

 

 

1.

The court will determine whether restitution should be ordered and in what amount.
Full restitution to the victim(s) of the offense(s) of conviction is reguired by statute. (See, e.g., 18
U.S.C, §§ 3663A, 2327.) The parties agree that full restitution is $

The parties agree that the court may order restitution to the victim(s) of the offense(s) of conviction
in any amount up to and including $_100,000 . (See 18 U.S.C. $§ 3663(a)(G3).)

The parties agree that the court may alse order restitution to persons other than the victim(s) of the
offense(s) of conviction. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663 A(a)G).)

Restitution is not applicable.

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, (WORKSHEET E, p. 3)

FINE (U.S.S.G. § 5E1.2)

a. Fines for Individual Defendants
The court must impose a fine unless “the defendant establishes that he [or she] is unable to pay and is not
likely to become able to pay any fine.” (See U.S.S.G. § 5E1.2(a).) Generally, the fine authorized by the

guidelines is limited to the range established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there
are exceptions to this general rule. (See U.S.S.G. § 5E1.2(b), (c)(4).)

b, Fine Range from Fine Table (U.8.8.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine

$250 $_ 5,000

SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction. The special assessments for individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
$ 25.00 for every count charging a Class A misdemeanor,
$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every count charging a Class C misdemeanor or an infraction.

The defendant must pay a specia! assessment or special assessments in the total amount of $ _100

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)

List any applicable aggravating or mitigating circumstance that might support a term of imprisonment above or
below the applicable guideline range.

 

 

(rev. 06/99)

 

 
